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                     IN THE UNITED STATES DISTRICT COURT                         f~\)Je[Q) .
                    FOR THE EASTERN DISTRICT OF MISSOURI
                            SOUTHEASTERN DIVISION                              NOV '""'. i 2022
                                                                              U S DISTRICT COURT
                                                                            EASTERN DISTRICT OF MO
UNITED STATES OF AMERICA,                 )                                CAPE GIRARDEAU
                                          )
                     Plaintiff,           )
                                          ) Case No.i           1:22CR00156MTS-ACL
     vs.                                  )
                                          )
MATTHEW A. PREWETT,                       ) 18 U.S.C. §§ 2251(a) and (e)
                                          )
                     Defendant.           )

                                     INDICTMENT

                                         Count I

THE GRAND JURY CHARGES THAT:

      Beginning at a time unknown to the Grand Jury, but including between on or about

December I, 2021, and on or about May 4, 2022, in Dunklin County and elsewhere within

the Southeastern Division of the Eastern District of Missouri,

                                  MATTHEW A. PREWETT,

the defendant herein, did knowingly employ, use, persuade, induce, and entice "Victim

C.C." who was a thirteen-year-old minor female, to engage in sexually explicit conduct for

the purpose of producing visual depictions of such conduct, and attempted to employ, use,

persuade, induce, and entice "Victim C.C." to engage in sexually explicit conduct for the

purpose of producing visual depictions of such conduct, knowing and having reason to
           '
know that such visual depictions would be transported and transmitted using a means and

facility of interstate and foreign commerce, and in and affecting interstate and foreign

commerce, and such visual depictions were produced using materials that had been mailed,
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shipped, and transported in and affecting interstate and foreign commerce by any means,

including by computer, and attempted to do so, in violation of Title 18, United States Code,

Section 225l(a), and punishable under Title 18, United States Code, Section 2251(e).

                                         Count II

THE GRAND JURY FURTHER CHARGES THAT:

       Beginning at a time unknown to the Grand Jury, but including between on or about

October 1, 2017, and on or about May 4, 2022, in Dunklin County and elsewhere within
                                                    ,-
the Southeastern Division of the Eastern District of Missouri,

                                 MATTHEW A.PREWETT,

the defendant herein, did knowingly employ, use, persuade, induce, and entice minor

children, to engage in sexually explicit conduct for the purpose of producing visual

depictions of such conduct, and attempted to employ, use, persuade, induce, and entice

minor children to engage in sexually explicit conduct for the purpose of producing visual

depictions of such conduct, knowing and having reason to know that such visual depictions

would be transported and transmitted using a means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, and such visual

depictions were produced using materials that had been mailed, shipped, and transported

in and affecting interstate and foreign commerce by any means, including by computer,

and attempted to do so, in violation of Title 18, United States Code, Section 2251(a), and

punishable under Title 18, United States Code, Section 2251(e).

                             FORFEITURE ALLEGATION

      The Grand Jury further finds by probable cause that:
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        1.       Pursuant to Title 18, United States Code, Section 2253, upon conviction of

an offense in violation of Title 18, United States Code, Section 2252A(a)(2) as set forth

in Count I of the Indictment, the defendant shall forfeit to the United States of America:

any visual depiction as described in Sections 2251, 2251A, 2252, 2252A or 2260 of Title

18, or any book, magazine, periodical, film,, videotape, or other matter which contains

any such visual depiction, which was produced, transported, mailed, shipped or received

in violation of Chapter 110 of Title 18; any property, real or personal, constituting or

traceable to gross profits or other proceeds obtained from such offense; and any property,

real or personal, used or intended to be used to commit or to promote the commission of

such offense or any property traceable to such property.

       2.     Specific property subject to forfeiture includes, but is not limited to, the

following: any and all electronic devices seized during the investigation of this matter.

       3.     If any of the property described above, as a result of any act or omission of

the defendant:

              a.       cannot be located upon the exercise of due diligence;

              b.       has been transferred or sold to, or deposited with, a third party;

              c.       has been placed beyond the jurisdiction of the court;

              d.       has been substantially diminished in value; or

              e.       has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America will be entitled to the forfeiture of substitute property

pursuant to Title 21, United'States Code, Section 853(p).
i   l
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                                            A TRUE BILL.



                                            FOREPERSON


        SAYLER A. FLEMING,
        United States Attorney


        Julie A. Hunter, #51612 MO
        Assistant United States Attorney
